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                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                              SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                       ) No. 23-CR-00118
                                                     )
15           Plaintiff,                              ) STIPULATION TO CONTINUE STATUS
                                                     ) CONFERENCE AND [PROPOSED] ORDER
16      v.                                           )
                                                     )
17   RICHARD SZE,                                    )
                                                     )
18           Defendant.                              )
                                                     )
19

20           Defendant Richard Sze, by and through his counsel, and the United States, by and through
21 undersigned counsel, hereby stipulate and agree as follows:

22           The above-captioned matter is currently scheduled for a status conference July 11, 2023. The
23 parties have reached a preliminary resolution to the case. The parties therefore agree and jointly request

24 that the status hearing conference now set for July 11, 2023, be converted into a change of plea hearing

25 and set for October 3, 2023. The parties plan to proceed with a change of plea on that date.

26           The parties stipulate and agree that excluding time from July 11, 2023, through and including
27 October 3, 2023, will allow for the effective preparation of counsel. See 18 U.S.C. § 3161(h(7)(B)(iv).

28 The parties further stipulate and agree that the ends of justice served by excluding the time from January

     STIPULATION TO CONVERT AND CONTINUE STATUS CONFERENCE
     Case No. 21-CR-0118 BLF                    1
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 1 31, 2023, through and including February 14, 2023, from computation under the Speedy Trial Act

 2 outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A),

 3 (B)(ii)-(iv).

 4          IT IS SO STIPULATED.

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 6 DATED:          July 10, 2023                         Respectfully submitted,

 7                                                       ISMAIL J. RAMSEY
                                                         United States Attorney
 8

 9                                                              /s/
                                                         SAILAJA M. PAIDIPATY
10                                                       CHRIS KALTSAS
                                                         Assistant United States Attorneys
11

12 DATED:          July 10, 2023                               /s/
                                                         FRANK UBHAUS
13                                                       BERLINER COHEN LLP
                                                         Counsel for Richard Sze
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     STIPULATION TO CONVERT AND CONTINUE STATUS CONFERENCE
     Case No. 21-CR-0118 BLF                    2
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 1                                           [PROPOSED] ORDER

 2          With agreement of the parties and for the reasons stated above, the status conference currently

 3 set for July 11, 2023, is hereby converted to a change of plea hearing and set for October 3, 2023.

 4          Based upon the facts and representations set forth in the stipulation of the parties, and for good

 5 cause shown, the Court finds that failing to exclude the time from July 11, 2023, through and including

 6 October 3, 2023, would unreasonably deny defense counsel and the defendant the reasonable time

 7 necessary for effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §

 8 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by excluding the time from

 9 July 11, 2023, through and including October 3, 2023, from computation under the Speedy Trial Act

10 outweigh the best interests of the public and the defendant in a speedy trial.

11          Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from

12 July 11, 2023, through and including October 3, 2023, shall be excluded from computation under the

13 Speedy Trial Act. 18 U.S.C. §§ 3161(h)(7)(A), (B)(iv).

14          IT IS SO ORDERED.

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16 DATED: July 10, 2023

17
                                                          HON. BETH LABSON FREEMAN
18                                                        United States District Judge

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     STIPULATION TO CONVERT AND CONTINUE STATUS CONFERENCE
     Case No. 21-CR-0118 BLF                    3
